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     9    BIRD, MARELLA, BOXER,                     PRISON LAW OFFICE
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    11    Los Angeles, California 90067-2561        Facsimile: (510) 280-2704
          Telephone: (310) 201-2100
    12    Facsimile: (310) 201-2110
    13    Attorneys for Plaintiff-Petitioners
    14
    15                         UNITED STATES DISTRICT COURT
    16               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    17 LANCE AARON WILSON;                          CASE NO. 2:20-cv-04451-MWF-MRWx
       MAURICE SMITH; EDGAR
    18 VASQUEZ, individually and on behalf          EX PARTE APPLICATION TO
       of all others similarly situated,            SHORTEN TIME RE: MOTION
    19                                              FOR PRELIMINARY INJUNCTION
                     Plaintiff-Petitioners,         ON TESTING
    20
              vs.                                   [Filed Concurrently with (Proposed)
    21                                              Order]
       FELICIA L. PONCE, in her capacity as
    22 Warden of Terminal Island; and               Assigned to Hon. Michael W. Fitzgerald
       MICHAEL CARVAJAL, in his                     Courtroom 5A
    23 capacity as Director of the Bureau of
       Prisons,
    24
                     Defendant-Respondents.
    25
    26
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         3693546.1
             EX PARTE APPLICATION TO SHORTEN TIME RE: MOTION FOR PRELIMINARY INJUNCTION ON
                                                TESTING
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     1               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2               PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, Plaintiff-
     3 Petitioners Lance Aaron Wilson, Maurice Smith, and Edgar Vasquez (“Petitioners”)
     4 apply, ex parte, for an order shortening time re: Petitioners’ Motion for Preliminary
     5 Injunction (the “Motion”). Specifically, Petitioners ask that the Court immediately
     6 rule on this Application and set deadlines and dates for the Motion as follows: (1)
     7 Defendant-Respondents’ (“Respondents”) opposition due by January 19, 2021; (2)
     8 Petitioners’ optional reply due by January 25, 2021; and (3) hearing set for January
     9 27, 2021, should the Court deem a hearing necessary.
    10               Counsel for Petitioners and counsel for Respondents initially discussed a
    11 briefing schedule for the Motion on December 22, 2020. At that time, Respondents
    12 objected. (ECF No. 90.) On January 11, 2021, counsel for Petitioners emailed
    13 counsel for Respondents to propose the specific schedule set out herein. Counsel for
    14 Respondents objected to Petitioners filing the Motion in the first place and further
    15 declined to stipulate to the Motion being heard on the proposed shortened schedule.
    16 (Declaration of James S. Threatt, (“Threatt Decl.”) ¶ 2 & Exh. A). Later on January
    17 11, counsel for Petitioners had a telephonic meet and confer with counsel for
    18 Respondents where they continued to state that they object to the proposed
    19 shortened schedule. (Threatt Decl. ¶ 2.)
    20               The following counsel were advised of Petitioners’ intent to seek a shortened
    21 briefing schedule:
    22               Daniel A. Beck
    23               Keith Staub
    24               P. Bart Green
    25               Jasmin Yang
    26               Chung Han
    27               Assistant United States Attorneys
    28               Email: Daniel.Beck@usdoj.gov
         3693546.1
                                                         2
             EX PARTE APPLICATION TO SHORTEN TIME RE: MOTION FOR PRELIMINARY INJUNCTION ON
                                                TESTING
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     1               Keith.Staub@usdoj.gov
     2               Paul.Green@usdoj.gov
     3               Jasmin.Yang@usdoj.gov
     4               Chung.Han@usdoj.gov
     5               This application is made on the grounds that Petitioners have good cause to
     6 request leave for shortened time given the current surge in COVID-19 cases in Los
     7 Angeles County and Respondents’ lack of an adequate testing regimen, as further
     8 described in the Motion, which jeopardizes Petitioners’ health and safety and places
     9 them in serious and imminent danger. In short, Respondents will only learn of a
    10 COVID-19 outbreak at Terminal Island once it is too late to stem the spread of the
    11 virus and prevent serious harm and/or death.
    12               This ex parte application is based upon this Notice, the attached
    13 Memorandum of Points and Authorities, declaration of James S. Threatt, the filings
    14 in this action, and the Proposed Order, which is being lodged in accordance with
    15 Local Rule 7-20.
    16
         DATED: January 11, 2021                  Terry W. Bird
    17                                            Dorothy Wolpert
    18                                            Naeun Rim
                                                  Shoshana E. Bannett
    19                                            Kate S. Shin
    20                                            Oliver Rocos
                                                  Christopher J. Lee
    21                                            James S. Threatt
    22                                            Bird, Marella, Boxer, Wolpert, Nessim,
                                                  Drooks, Lincenberg & Rhow, P.C.
    23
    24
    25                                            By:         /s/ James S. Threatt
    26                                                              James S. Threatt
                                                        Attorneys for Plaintiff-Petitioners
    27
    28
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             EX PARTE APPLICATION TO SHORTEN TIME RE: MOTION FOR PRELIMINARY INJUNCTION ON
                                                TESTING
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     1                      MEMORANDUM OF POINTS AND AUTHORITIES
     2               Petitioners have concurrently filed a noticed Motion for Preliminary
     3 Injunction on Testing (the “Motion:”). Petitioners seek to expedite briefing and
     4 hearing on the Motion based on the urgent danger to inmates at FCI Terminal Island
     5 in light of the ongoing surge in COVID-19 cases in Los Angeles County and
     6 Respondents’ inadequate testing regimen. Every day Respondents fail to implement
     7 an adequate system of testing puts these medically vulnerable inmates at risk
     8 because Respondents will only become aware of an outbreak once it is too late to
     9 stem the spread of the virus and prevent serious harm and/or death.
    10               Petitioners ask that the Court immediately rule on this Application and set
    11 deadlines and dates for the Motion as follows: (1) Defendant-Respondents’
    12 (“Respondents”) opposition due by January 19, 2021; (2) Petitioners’ optional reply
    13 due by January 25, 2021; and (3) hearing set for January 27, 2021, should the Court
    14 deem a hearing necessary.
    15               Expediting briefing and hearing would not prejudice Respondents. The
    16 parties have been discussing these issues for an extensive period of time, including
    17 in their settlement discussions before Judge Guilford.
    18 DATED: January 11, 2021                    Terry W. Bird
                                                  Dorothy Wolpert
    19
                                                  Naeun Rim
    20                                            Shoshana E. Bannett
                                                  Kate S. Shin
    21
                                                  Oliver Rocos
    22                                            Christopher J. Lee
                                                  James S. Threatt
    23
                                                  Bird, Marella, Boxer, Wolpert, Nessim,
    24                                            Drooks, Lincenberg & Rhow, P.C.
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             EX PARTE APPLICATION TO SHORTEN TIME RE: MOTION FOR PRELIMINARY INJUNCTION ON
                                                TESTING
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     1                           DECLARATION OF JAMES S. THREATT
     2               I, James S. Threatt, declare as follows:
     3               1.    I am an active member of the Bar of the State of California and an
     4 Associate with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg &
     5 Rhow, A Professional Corporation, attorneys of record for Plaintiff-Petitioners
     6 Lance Aaron Wilson, Maurice Smith, and Edgar Vasquez in this action. I make this
     7 declaration in support of Petitioners’ Ex Parte Application To Shorten Time Re:
     8 Motion For Preliminary Injunction On Testing. Except for those matters stated on
     9 information and belief, I make this declaration based upon personal knowledge and,
    10 if called upon to do so, I could and would so testify.
    11               2.    On January 11, 2021, I emailed counsel for Respondents to re-iterate
    12 Petitioners’ intent to file the Motion for Preliminary Injunction on Testing that day.
    13 Counsel for Petitioners and counsel for Respondents had previously discussed this
    14 contemplated motion practice on December 22, 2020. I also stated Petitioners’
    15 desire to have the motion heard on shortened time, given the ongoing surge in
    16 COVID-19 cases. Counsel for Respondents objected to Petitioners filing the motion
    17 for preliminary injunction in the first instance and declined to stipulate to the motion
    18 being heard on the shortened scheduled proposed in this Ex Parte Application.
    19 Later on January 11, I had a telephonic meet and confer with counsel for
    20 Respondents where they continued to state that they object to the proposed
    21 shortened schedule. Attached as Exhibit A is a true and correct copy of my email
    22 correspondence with counsel for Respondents.
    23               I declare under penalty of perjury under the laws of the United States of
    24 America that the foregoing is true and correct, and that I executed this declaration
    25 on January 11, 2021, at Los Angeles, California.
    26
    27                                                    /s/ James S. Threatt
                                                          James S. Threatt
    28
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                                                         5
             EX PARTE APPLICATION TO SHORTEN TIME RE: MOTION FOR PRELIMINARY INJUNCTION ON
                                                TESTING
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                         Exhibit A
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    From:            Jimmy Threatt
    To:              Green, Paul (USACAC)
    Cc:              Sara Norman; Don Specter; Terry W. Bird; Naeun Rim; Han, Chung (USACAC); Beck, Daniel (USACAC); Yang,
                     Jasmin (USACAC); Staub, Keith (USACAC)
    Subject:         RE: Terminal Island Litigation
    Date:            Monday, January 11, 2021 3:53:00 PM


    Bart,

    I believe we’ve adequately explained the basis for the ex parte, which concerns a scheduling
    matter and is the only one of the motions subject to a meet and confer requirement, but I’m
    happy to have a call if that would be helpful. I’m available until 5 pm today. Let me now if a
    particular time is good for you. My cell number is         .


    Jimmy Threatt
    Associate
    T: 310.201.2100
    F: 310.201.2110
    E: jthreatt@birdmarella.com
    Bird, Marella, Boxer, Wolpert, Nessim,
    Drooks, Lincenberg & Rhow, P.C.
    1875 Century Park East, 23rd Floor
    Los Angeles, California 90067-2561
    www.BirdMarella.com




    From: Green, Paul (USACAC) <Paul.Green@usdoj.gov>
    Sent: Monday, January 11, 2021 3:25 PM
    To: Jimmy Threatt <jthreatt@birdmarella.com>
    Cc: Sara Norman <snorman@prisonlaw.com>; Don Specter <dspecter@prisonlaw.com>; Terry W.
    Bird <tbird@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>; Han, Chung (USACAC)
    <Chung.Han@usdoj.gov>; Beck, Daniel (USACAC) <Daniel.Beck@usdoj.gov>; Yang, Jasmin (USACAC)
    <Jasmin.Yang@usdoj.gov>; Staub, Keith (USACAC) <Keith.Staub@usdoj.gov>
    Subject: RE: Terminal Island Litigation

    Jimmy,

    Regarding the meet and confer requirements, L.R. 7-19.1 requires “good faith efforts orally to advise
    counsel . . . of the date and substance of the proposed ex parte application.” Petitioners have not
    done that in spite of our offer to have a teleconference this afternoon. Our offer to have a call still
    stands.

    If Petitioners intend to move forward with the motion and application, please be advised, as we have
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    repeatedly advised, that it is inappropriate to refer to the parties’ protected, confidential mediation
    discussions, including information shared by BOP over the course of the mediation, for any purpose
    outside of mediation.

    Paul “Bart” Green
    Assistant United States Attorney
    United States Attorney's Office for the Central District of California
    300 N. Los Angeles St., Suite 7516, Los Angeles, CA 90012
    Office: 213-894-0805, Cell: 213-247-4334
    Email: Paul.Green@usdoj.gov


    From: Jimmy Threatt <jthreatt@birdmarella.com>
    Sent: Monday, January 11, 2021 1:32 PM
    To: Green, Paul (USACAC) <PGreen1@usa.doj.gov>; Han, Chung (USACAC) <CHan1@usa.doj.gov>;
    Beck, Daniel (USACAC) <DBeck1@usa.doj.gov>; Yang, Jasmin (USACAC) <JYang2@usa.doj.gov>;
    Staub, Keith (USACAC) <KStaub@usa.doj.gov>
    Cc: Sara Norman <snorman@prisonlaw.com>; Don Specter <dspecter@prisonlaw.com>; Terry W.
    Bird <tbird@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>
    Subject: RE: Terminal Island Litigation

    Bart,

    As we explained when the parties met and conferred on the December 22 scheduling request,
    the motion for preliminary injunction concerns surveillance testing of inmates and staff. The
    specific relief we are seeking closely resembles our requests during the weeks the parties have
    been discussing this specific issue, namely that Respondents test 25% of COVID-naïve
    inmates every week and provide on-site tests free of charge to all corrections officers and
    other staff members once a month. I’m surprised there would any confusion given the
    numerous hours the parties have dedicated to this single issue over the past couple of months.

    Based on previous discussions, our understanding is that Respondents refuse to institute our
    proposed system of surveillance testing. If your position has changed, please let us know.
    Given the time-sensitive nature of these issues, which I thought was obvious in light of the
    ongoing surge in COVID-19 cases across Los Angeles County, we still plan to file the motion
    for preliminary injunction later today. However, we are always open to settling the case if we
    can secure the relief necessary to ensure the safety and well-being of our clients.

    Relatedly, we have been informed that a Terminal Island inmate named Gary Charles Tanner
    (Reg. No. 43261-086) died on January 5 from complications relating to COVID-19. Please let
    us know what information, if any, you have regarding the circumstances of Mr. Tanner’s
    unfortunate death.

    I’ll include your positions on the motion and ex parte application in our papers, though I note
    that preliminary injunction motions are not subject to the meet and confer requirement
    contained in Local Rule 7-3.
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    From: Green, Paul (USACAC) <Paul.Green@usdoj.gov>
    Sent: Monday, January 11, 2021 11:46 AM
    To: Jimmy Threatt <jthreatt@birdmarella.com>; Han, Chung (USACAC) <Chung.Han@usdoj.gov>;
    Beck, Daniel (USACAC) <Daniel.Beck@usdoj.gov>; Yang, Jasmin (USACAC) <Jasmin.Yang@usdoj.gov>;
    Staub, Keith (USACAC) <Keith.Staub@usdoj.gov>
    Cc: Sara Norman <snorman@prisonlaw.com>; Don Specter <dspecter@prisonlaw.com>; Terry W.
    Bird <tbird@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>
    Subject: RE: Terminal Island Litigation

    Jimmy,

    Petitioners requested, but have not received, Court authorization to file a motion for preliminary
    injunction. In these circumstances, it would not be appropriate for Petitioners to file a motion until
    the Court conducts a conference, which it has indicated it will do as the next step in the litigation.

    As for the motion for preliminary injunction, we are unclear as to what relief Petitioners will seek
    and the basis for any relief. Petitioners’ statements in the December 22 Joint Scheduling Request are
    brief, vague, and do not meet the requirements of Local Rule 7-3.

    As for Petitioners’ ex parte for shortened time, we are unable to state how much time Respondents
    will need to respond because Petitioners have not provided sufficient clarity as to what they will be
    moving on. Your email simultaneously raising for the first time an ex parte and asking for our
    position on it hours before Petitioners intend to file the ex parte is contrary to the Local Rule
    requirements. See Singh v. Giles, 2019 WL 4736239, at *2–3 (C.D. Cal. Sept. 27, 2019) (finding that
    email notice sent same day ex parte was filed “did not provide reasonable advance notice to the
    government”). Moreover, Petitioners have not established why any ex parte relief is necessary and
    “why the accompanying proposed motion for the ultimate relief requested cannot be calendared in
    the usual manner.” Mission Power Eng’ Co. v. Continental Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal.
    1995).

    I am available to discuss your proposed ex parte and motion this afternoon. Please let me know what
    time is convenient for you.
Case 2:20-cv-04451-MWF-MRW Document 93 Filed 01/11/21 Page 10 of 11 Page ID #:1916



     Bart

     Paul “Bart” Green
     Assistant United States Attorney
     United States Attorney's Office for the Central District of California
     300 N. Los Angeles St., Suite 7516, Los Angeles, CA 90012
     Office: 213-894-0805, Cell: 213-247-4334
     Email: Paul.Green@usdoj.gov


     From: Jimmy Threatt <jthreatt@birdmarella.com>
     Sent: Monday, January 11, 2021 9:50 AM
     To: Han, Chung (USACAC) <CHan1@usa.doj.gov>; Beck, Daniel (USACAC) <DBeck1@usa.doj.gov>;
     Yang, Jasmin (USACAC) <JYang2@usa.doj.gov>; Staub, Keith (USACAC) <KStaub@usa.doj.gov>;
     Green, Paul (USACAC) <PGreen1@usa.doj.gov>
     Cc: Sara Norman <snorman@prisonlaw.com>; Don Specter <dspecter@prisonlaw.com>; Terry W.
     Bird <tbird@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>
     Subject: RE: Terminal Island Litigation

     Counsel, my email below contained a typo on the date for Respondents’ opposition.
     Petitioners’ proposed briefing and hearing schedule is as follows:

     Specifically, we propose that: (1) Respondents’ opposition be due on January 19; (2)
     Petitioners’ reply, if any, be due on January 25; and (3) the Court hold a hearing, if it deems
     one necessary, on January 27.

     From: Jimmy Threatt
     Sent: Monday, January 11, 2021 9:28 AM
     To: 'Han, Chung (USACAC)' <Chung.Han@usdoj.gov>; Beck, Daniel (USACAC)
     <Daniel.Beck@usdoj.gov>; Yang, Jasmin (USACAC) <Jasmin.Yang@usdoj.gov>; Staub, Keith (USACAC)
     <Keith.Staub@usdoj.gov>; Green, Paul (USACAC) <Paul.Green@usdoj.gov>
     Cc: Sara Norman <snorman@prisonlaw.com>; Don Specter <dspecter@prisonlaw.com>; Terry W.
     Bird <tbird@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>
     Subject: Terminal Island Litigation

     Counsel:

     Pursuant to the schedule Petitioners proposed on December 22, we intend to file a motion for
     preliminary injunction later today. As we also indicated in correspondence on December 22,
     and given the ongoing surge in COVID-19 cases, we think it is appropriate for the motion to
     be heard on shortened time. Specifically, we propose that: (1) Respondents’ opposition be due
     on January 21; (2) Petitioners’ reply, if any, be due on January 25; and (3) the Court hold a
     hearing, if it deems one necessary, on January 27.

     Please let us know whether you still object to having the motion heard on shortened time.
     Assuming you do object, we will also move ex parte for an order to shorten time.
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